                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION



SECURITIES AND EXCHANGE
COMMISSION,

       Plaintiff,
                                                        Civil Action No. 3:12 cv 519
vs.

REX VENTURE GROUP, LLC
d/b/a ZEEKREWARDS.COM, and
PAUL BURKS,

       Defendants.


  RECEIVER’S MOTION TO SEAL RECEIVER’S SUPPLEMENTAL RESPONSE IN
         OPPOSITION TO VICTORIABANK’S MOTION TO DISMISS

       Kenneth D. Bell, the Court-appointed Receiver (“Receiver”) for Rex Venture Group,

LLC d/b/a ZeekRewards.com (“RVG” or “Receivership Defendant”), respectfully moves this

Court pursuant to Local Rule of Civil Procedure 6.1 and the Protective Order in this above-

captioned case to seal the Receiver’s accompanying Supplemental Response in Opposition to

Victoriabank’s Motion to Dismiss and the accompanying exhibits.

       In support of this Motion to Seal and in accordance with Local Rule 6.1, the Receiver

submits the following:

       Attached to the underlying Receiver’s Supplemental Response in Opposition to

Victoriabank’s Motion to Dismiss are documents that third parties have produced and designated

“Confidential” pursuant to the Court’s January 22, 2013 Protective Order, as amended on




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November 22, 20131 (“Protective Order”) (Dkt. Nos. 119, 167). The Court’s Protective Order

requires parties to file under seal motions or other papers that contain non-redacted Confidential

Information. (Protective Order ¶ 7.) Accordingly, pursuant to Local Rule 6.1 and the Court’s

Protective Order, the Receiver respectfully requests that this Court seal the underlying

Receiver’s Supplemental Response in Opposition to Victoriabank’s Motion to Dismiss.

                                        CONCLUSION

       For the reasons stated above, the Receiver respectfully requests that this Court grant the

Receiver’s Motion to Seal and seal the Receiver’s underlying Supplemental Response in

Opposition to Victoriabank’s Motion to Dismiss.



       Respectfully submitted this 24th day of March, 2017.



                                             By: /s/ Kenneth D. Bell
                                                 Kenneth D. Bell, Receiver, Esq.
                                                 N.C. Bar No. 10800
                                                 Irving M. Brenner, N.C. Bar No. 15483
                                                 Matthew E. Orso, N.C. Bar No. 42409
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  The Receiver does not concede that any of the “Confidential” designations on the underlying
materials is proper. The Receiver submits this Motion to Seal out of an abundance of caution
and does not waive and reserves its right to dispute the propriety of any designation made under
the Protective Order.
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have electronically filed the foregoing using the CM/ECF

system which will send notification to counsel of record registered to receive electronic service.




This the 24th day of March, 2017.

                                                /s/ Irving M. Brenner




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